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   ORIGINAL
                                                                    FILED IN THE
                                                            UNITED STATES DISTRICT COURT
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Acting United States Attorney
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District of Hawaii

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Attorneys for Plaintiff
UNITED STATES OF AMERI CA

                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                 CR. NO . 17 - 00101 LEK

                   Plaintiff,             MOTION TO DETAIN DEFENDANT
                                          WITHOUT BAIL
     VS .


ANTHONY T. WILLI AMS,           (01)

                   Defendant.


                 MOTION TO DETAIN DEFENDANT WI THOUT BAIL

            The United States hereby moves to deta i n defendant

without bail, pursuant to 18 U.S.C. § 3142.

            1.     Eligibility of Case.     Thi s defendant is eligible for

detention because the case involves (check all that apply) :

                                a.     Offense committed on release pending
                                fe l ony trial (3142 (d) (1) (A) (i)) *

                                b.  Offense committed on release pending
                                imposition, execution, or appea l of
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                             sentence, conviction or completion of
                             sentence (3142 (d) (1) (A) (ii))*

                            c.   Offense committed while on probation
                            orparole (3142(d) (1) (A) (iii))*

                            d.   A citizen of a foreign country or
                            unlawfully admitted person
                            (3142(d) (1) (B))*

                            e.    Crime of violence (3142 (f) (1) (A))

                            f .  Maximum sentence life imprisonment
                            or death (3142 (f) (1) (B))

                            g.   10+ year drug offense
                            (3142 (f) (1) (C))

                            h.   Felony, with two prior convictions in
                            above categories (3142 (f) (1) (D))

                            i.   Felony not otherwise a crime of
                            violence invo l ving a minor victim
                            (3142 (f) (1) (E))

                            j.   Felony not otherwise a crime of
                            violence involving the possession or use
                            of a firearm, destructive device, or
                            dangerous weapon (3142(f) (1) (E))

                            k.   Felony not otherwise a crime of
                            violence involving a failure to register
                            under 18 U. S . C . § 2 2 5 0 ( 314 2 ( f) ( 1) ( E) )

                            1.    Serious risk defendant will flee
                             (3142(f) (2) (A))

                            m.    Danger to other person or community
                            **

                            n.   Serious risk obstruction of justice
                            (3142 (f) (2) (B))

                            o.   Serious risk threat, injury,
                            intimidation of prospective witness or
                            juror (3142 (f) (2) (B))
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                 *   requires   11
                                     1 11 or       11
                                                        m11 additionally

                 ** requires "a",         11
                                               b   11
                                                        ,
                                                            11
                                                                 c   11
                                                                          ,   or   11
                                                                                        d 11 additionally

           2.    Reason for Detention.                           The court should detain

defendant (check all that apply) :

                 ,L a.      Because there is no condition or
                            combination of conditions of release which
                            will reasonably assure defendant ' s
                            appearance as required (3142(e))

                            Because there is no condition or
                            combination of conditions of release whi ch
                            will reasonably assure the safety of any
                            other person and the community (3142(e))

                      c.    Pending notification of appropriate court
                            or official (not more than 10 working days
                            (3142 (d))

           3.   Rebuttable Presumption.                              A rebuttable presumption

that no condition or combination of conditions will reasonably assure

the appearance of defendant as required and the safety of the

community arises under Section 3142(e) because (check all that

apply) :

                      a.    Probable cause to believe defendant
                            committed 10+ year drug offense

                      b.    Probable cause to believe defendant
                            committed an offense under 1 8 U . S . C.
                            § 924(c)

                      c.    Probable cause to believe defendant
                            committed an offense under 18 U.S.C.
                            § 956(a) or 2332b




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                      d.    Probable cause to believe defendant
                            committed 10+ year offense listed in 18
                            U . S.C. § 2332b(g) (5) (B)

                      e.    Probable cause to believe defendant
                            committed an offense involving a minor
                            victim listed in 18 U.S.C . § 3142 (e)

                      f.    Previous conviction for eligible offense
                            committed while on pretrial release

           4.   Time for Detention Hearing.              The United States

requests that the court conduct the detention hearing :

                      a.    At first appearance

                      b.    After continuance of                days (not more
                            than 3)

          5.   Out of District Rule 5 Cases.              The United States
requests that the detention hearing be held:

                      a.    In the District of Hawaii

                      b.    In the District where charges were filed

           6.   Other Matters.

          Defendant is present in the district on a writ from the

State of Florida where he is serving a sentence for a felony

conviction.

          DATED: September 25, 2017, Honolulu, Hawaii.

                                  ELLIOT ENOKI
                                  Acting United States Attorney
                                  District of Hawaii


                                  By

                                           Ass i stant


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